Case 8:21-cv-02524-SDM-TGW Document 32 Filed 12/14/21 Page 1 of 7 PageID 449




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA

 STATE OF FLORIDA,
                      Plaintiff,
               v.
                                                   No. 8:21-cv-2524-SDM-TGW
 BILL NELSON, in his official capacity
 as Administrator of NASA, et al.,
                      Defendants.

      DEFENDANTS’ MOTION TO STAY OR, IN THE ALTERNATIVE,
         TO EXTEND DEADLINE TO RESPOND TO COMPLAINT

      Defendants request a stay of all proceedings in light of the recent nationwide

injunction issued in Georgia v. Biden, No. 21-cv-00163 (S.D. Ga. Dec. 7, 2021), which

involves a similar challenge to EO 14042 and its implementing guidance, and about

which Florida submitted a notice of supplemental authority. See Pls.’ Notice, ECF

No. 29 (including the slip opinion as ECF No. 29-1). Concluding that the President

likely exceeded his authority under FPASA when issuing Executive Order 14042, the

Georgia court enjoined the federal government “from enforcing the vaccine mandate

for federal contractors and subcontractors in all covered contracts in any state or ter-

ritory of the United States of America.” Slip Op. at 27.

      So long as it remains in effect, this nationwide injunction eliminates Florida’s

allegedly irreparable injuries stemming from EO 14042 and its implementing guid-

ance. Accordingly, in the interest of conserving judicial resources, defendants hereby
Case 8:21-cv-02524-SDM-TGW Document 32 Filed 12/14/21 Page 2 of 7 PageID 450




move to stay further litigation, unless and until the Georgia injunction is stayed, va-

cated, or narrowed such that adjudicating Florida’s motion for a preliminary injunc-

tion or engaging in further litigation generally would have practical significance.

       In the alternative to staying all deadlines unless and until the Georgia injunc-

tion is stayed, vacated, or narrowed, defendants at a minimum move to extend their

deadline to respond to Florida’s amended complaint to no earlier than January 21,

2022. Absent a stay or an extension, defendants must respond to Florida’s amended

complaint by January 7, 2022. In the event the Court does not grant a stay of all

deadlines and proceedings in this case, defendants seek to extend their response

deadline, either to fourteen days after the Court rules on Florida’s pending moti on

for a preliminary injunction or to January 21, 2022, whichever is later.

       Undersigned counsel conferred with Florida’s counsel, who indicated that

Florida opposes a stay but may consent to extending defendants’ response deadline

until after this Court decides Florida’s amended preliminary injunction motion . 1

                                        DISCUSSION

       District courts enjoy “inherent managerial power ‘to control the disposition of

the causes on its docket with economy of time and effort for itself, for counsel, and

for litigants.’” Hendrix v. Raybestos-Manhattan, Inc., 776 F.2d 1492, 1495 (11th Cir.




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      Specifically, Florida requested that its position be represented as follows: “While the
government decries nationwide injunctions for ‘preventing legal questions from percolating through
the federal courts,’ Doc. 21 at 38, it simultaneously seeks to halt that percolation here. But the
government will presumably seek a stay of any nationwide injunction—which, if granted, would
leave Florida immediately subject to irreparable harm. Florida respectfully requests a ruling.”


                                                2
Case 8:21-cv-02524-SDM-TGW Document 32 Filed 12/14/21 Page 3 of 7 PageID 451




1985) (quoting In re Air Crash Disaster at Fla. Everglades, 549 F.2d 1006, 1012 (5th Cir.

1977)); see also, e.g., Clinton v. Jones, 520 U.S. 681, 706 (1997) (recognizing district

court’s “broad discretion to stay proceedings”). This includes the power to enter a

stay “pending resolution of independent proceedings which bear upon the case.”

Leyva v. Certified Grocers of Cal., Ltd., 593 F.2d 857, 863 (9th Cir. 1979); see also Greco v.

Nat’l Football League, 116 F. Supp. 3d 744, 761 (N.D. Tex. 2015) (acknowledging a

district court’s “discretion to grant a stay when a related case with substantially simi-

lar issues is pending before a court of appeals”). In determining whether to stay a

case, the court must consider what is “efficient for its own docket” as well as “the

fairest course for the parties.” Leyva, 593 F.2d at 863.

       Here, conservation of the Court’s and the parties’ resources weighs in favor of

a stay. The requested stay imposes no hardship on Florida: the state is not at risk of

being harmed by EO 14042 and its implementing guidance as long as the Georgia in-

junction remains in place. In similar situations, courts have readily stayed superflu-

ous proceedings for emergency relief. See, e.g., Pars Equality Center v. Trump, No. 17-

cv-0255-TSC (D.D.C. March 2, 2018), ECF No. 143 (staying request for preliminary

relief because another nationwide injunction “calls into question whether the harms

Plaintiffs allege are actually imminent or certain—a prerequisite for a preliminary in-

junction”); Washington v. Trump, No. C17–0141, 2017 WL 4857088, at *6 (W.D.

Wash. Oct. 27, 2017) (because another district court had “already provide[d] Plaintiff

States with virtually all the relief they seek,” plaintiffs will not incur “any significant




                                              3
Case 8:21-cv-02524-SDM-TGW Document 32 Filed 12/14/21 Page 4 of 7 PageID 452




harm” by the court’s staying consideration of their TRO motion); Int’l Refugee Assis-

tance Project v. Trump, No. 17-cv-0361, 2017 WL 1315538, at *2 (D. Md. Apr. 10,

2017) (“[I]n light of the current nationwide injunction of Section 6 by the United

States District Court of the District of Hawaii, a stay would not impose any hardship

on Plaintiffs or result in irreparable harm.”); Hawaii v. Trump, 233 F. Supp. 3d 850,

853 (D. Hawaii 2017) (“[T]he Western District of Washington’s nationwide injunc-

tion already provides the State with the comprehensive relief it seeks in this lawsuit.

As such, the State will not suffer irreparable damage . . . if the Court were to grant

Defendants’ motion to stay.”). Indeed, another district court has already stayed a

similar challenge to EO 14042 and its implementing guidance on that basis, over the

plaintiff’s objection (there, the state of Texas). See Minute Order of Dec. 10, 2021,

Texas v. Biden, No. 3:21-cv-309-JVB (S.D. Tex.) (“Case is stayed.”).

       To be sure, defendants are seeking to stay or narrow the Georgia injunction. See

Motion for Stay, Georgia v. President of the United States, No. 21-14269 (11th Cir. Dec.

10. 2021); see also Georgia, No. 21-cv-00163 (S.D. Ga.), ECF Nos. 96, 97. Those ef-

forts, however, should not deter this Court from staying proceedings here—any deci-

sion by the Eleventh Circuit will control proceedings in this Court. Rather than

preventing percolation, defendants merely seek to protect this Court’s time and re-

sources with a brief pause so that the Eleventh Circuit can issue a ruling on a sub-

stantially similar case, a ruling that will bind this Court in all events. If the Eleventh

Circuit modifies the injunction, such that this Court’s adjudication of Florida’s chal-

lenge to EO 14042 and its implementing guidance would have practical significance,

                                             4
Case 8:21-cv-02524-SDM-TGW Document 32 Filed 12/14/21 Page 5 of 7 PageID 453




this Court could lift its stay and—having already received lengthy briefing—be in a

position to rule promptly. It will also have the benefit of Eleventh Circuit precedent

on the very issues Florida raises in its request for relief.

        Unless and until that happens, however, Florida cannot show that it is “likely

to suffer irreparable harm in the absence of preliminary relief.” Winter v. Nat. Res. Def.

Council, Inc., 555 U.S. 7, 20 (2008); see also Holland Am. Inc. Co. v. Succession of Roy,

777 F.2d 992, 997 (5th Cir. 1985) (“Speculative injury is not sufficient; there must be

more than an unfounded fear on the part of [a preliminary injunction] applicant.”).

Accordingly, there is no basis for this Court to grant Florida’s pending motion for

preliminary injunction, 2 and there is no need for further litigation regarding EO

14042 and its implementing guidance at this time.

        In the alternative, if the Court does not grant the stay that defendants are seek-

ing, the Court should extend defendants’ deadline to respond to Florida’s amended

complaint to fourteen days after the Court rules on Florida’s pending preliminary in-

junction motion or to January 21, 2022, whichever is later.

                                            CONCLUSION

        This Court should stay all proceedings in this case pending further order of the

Court.


    2
     To the extent that an Article III case or controversy exists here, the Georgia decision did not
render it moot. See, e.g., California v. U.S. Dep’t of Health & Hum. Servs., 941 F.3d 410, 420-23 (9th Cir.
2019), vacated on other grounds by Little Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania, 140 S.
Ct. 2367 (2020). Accordingly, the Georgia decision would not prevent the Court from denying
Florida’s pending motion for preliminary injunction on any of the various grounds discussed in
defendants’ opposition briefing, ECF Nos. 21 & 26. At present, however, it is simply unnecessary to
adjudicate Florida’s motion one way or the other.


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Case 8:21-cv-02524-SDM-TGW Document 32 Filed 12/14/21 Page 6 of 7 PageID 454




DATED: December 14, 2021           Respectfully submitted,

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                                     6
Case 8:21-cv-02524-SDM-TGW Document 32 Filed 12/14/21 Page 7 of 7 PageID 455




                            CERTIFICATE OF SERVICE

       On December 14, 2021, I electronically submitted the foregoing document with

the clerk of court for the U.S. District Court, Middle District of Florida, using the

electronic case filing system of the Court. I hereby certify that I have served all parties

electronically or by another manner authorized by Federal Rule of Civil Procedure

5(b)(2).

                                          /s/ Kevin Wynosky
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